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DANIEL W. CRA_NDALL, Pro Se
18 Crossbow Rd, Garden Valley, Idaho 83622

Crandall l O@frontier.com
Phone: 208-608-5017

UNITED STATES DISTRICT COURT
OF THE DISTRICT OF IDAHO

 

Daniel W. Crandall ) Civil Action No.: 1 0 _ 0 1 2 7 * C V
Plaintiff ) COl\/[PLAINT FOR DAMAGES FOR
BREACH OF CONTRACT; BREACH OF
vs. ) THE DUTY OF GOOD FAITH AND FAIR

DEALING; PUNITIVE DAMAGES;
Hartford Casualty Insurance Company, and ) NEGLIGENT INFLICTION OF
Hartford Steam Boiler Inspection & Insurance EMOTIONAL DISTRESS; AND DEMAND
Company FOR JURY TRIAL
Defendants

Daniel W. Crandall, pro se does hereby institute this action and demand for jury trial to
secure indemnification for just damages, legal fees, and the other costs of this lawsuit against

Defendants for the causes of action and other damages as set forth herein.

NATURE OF THIS ACTION

Plaintiff brings this action as the legal assignee of claims from CatRisk.us, LLC, an Idaho
limited liability Company, and it’s previously owned subsidiary, Moore Support Services, Inc.,
an Idaho corporation (hereinafcer referred to collectively as “CatRisk.us, LLC”). Plaintiff is the
owner of CatRisk.us, LLC and ultimately beneficiary of its profit or loss from this small
business.

This action arises out of a Defendants reckless disregard, egregious breach of contract
and wanton breach of their covenant of good faith and fair dealing with their policyholder,

CatRisk.us, LLC.

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CatRisk.us, LLC was a small business engaged in the medical billing business, among
other lawful business activities, which provided electronic medical billing services to small
physician practices in several states. This service was done entirely over the internet via
CatRisk.us, LLC extensive computer network technologies, which allowed it to communicate
with its physicians, and their medical insurance and governmental claims payors, and patients.

Since CatRisk.us, LLC’s operations and its revenues were totally dependent upon its
ability to electronically process claims and communicate over the internet with its various clients
on a 24/7 basis. In addition, it had a significant investment in its computer hardware, media,
software and data stored and used by employees on the systems, which necessitated procurement
of adequate and prudent insurance protection

When selecting an insurer to insure the primary and critical risks, particularly
surrounding the continuous functionality of this computer system, which if it failed, the business
would be subject to catastrophic liabilities and business interruption In addition, its physician
clients would suffer from late collection of revenues from a time lag on billing payors and
patients, if CatRisk.us, LLC could not continuously process claims on a daily basis.

Therefore, after searching the marketplace and upon advice of Defendants’ agent,
CatRisk.us, LLC purchased a “Sp_ecial Multi-F lex Spectrum Policy” (hereinafter referred to as
“the Policy”) which was issued by Defendant HC effective on May l, 2008. This policy was
replete with abundant limits and specialty additional coverages specifically tailored to address
CatRisk.us, LLC’s specialized technology risk transfer needs. (See attached Exhibit “A”). This
policy was underwritten in Defendant HC’s special program known as the Technology and
Software Service Providers program and with its all-encompassing property coverages, which

included business interruption insurance arising from an Equipment Breakdown Accident,'

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therefore CatRisk.us, LLC’s believed that its critical technology risk was transferred to
Defendant HC.

CatRisk.us, LLC advertised to its clients that it had the safest and most reliable billing
system available, and also communicated the fact that it was covered with a comprehensive
insurance pro gram, which was issued by a multi-billion insurer with real expertise in technology
risk and technology claims management and mitigation in the remote instance that our system
were to suffer an Equipment Breakdown Accident, among other insured all-risk perils.

On May 21, 2009, CatRisk.us, LLC suffered its first ever Equipment Breakdown Accident
that resulted in the total loss of functionality of its computer system. In compliance with its
obligations under the Policy, it took every reasonable action to expedite repairs and mitigate
business interruption It only took eight days to restore functionality and resume operations.

Defendants’ professed expertise and capabilities were suddenly put to the test. What
transpired from May 21, 2009 to the erroneous and Hivolous denial of the claims on July 22,
2009 is a testament to just how badly a claim can canker when it is not routine, when it occurs
just before a three day weekend, which leads to the on-call claims adjuster shuffle, which causes
human nature’s reticence to admit you made a mistake, which is a symptom of being so big the
left hand fails to track with the right, and on and'on the ripples go.

An old Indian proverb sums up this case well, which is “When two buffalos fight, it is the
grass that suffers” (e.g. the Defendants being the elephants and CatRisk.us, LLC being the
unfortunate grass). In this case, the Defendants found a more formidable opponent in the
knowledge of the Plaintiff- exceptionally capable of defeating their usual and customary tactics
regarding claims payment avoidance by insurance double-talk. Therefore, the wagons were

circled and general quarters were sounded. The result was the Defendants bad judgment begat

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' overshadowed by the Defendants’ own complex policy design and reinsurance intercession,

' left a voice message with its agent, and he had finally admitted that Plaintiff’s coverage analysis 7

 

 

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poor decisions as the complexity of the Equipment Breakdown Accident was totally

which took at least a six or seven of their people too long to interpret and led to an
indetermination of coverage, and then bad faith breach took root.

On July 10, 2009, I complained to defendant’s agent in a letter that summarizes the state
of the claim adjustment: “I thank you and Jim for taking the time to go through the coverage
with me on the phone yesterday. None of the manv claims adjusters with Hartford Casualtv
Companv or Hartford Steam Boiler & Inspection Inc. Co. would volunteer to do so. Both
carriers ’ stajjfs‘ seem fixated on denial from the get-go. Why, I do not know, as these claims are
so germane to the business of computer technology services that to have so much confusion from
insurers as large and sophisticated as these two, is shocking and indicates their technology
services risk management program expertise and program coverages are illusionary. "

' Just a week or so prior to receiving a denial letter, the Defendants’ senior claims person

was correct; but his sound judgment fell victim to_other voices l) up the chain of command or 2)
most likely, he was out voted in claims committee. He then not only reversed his findings
without explanation, but then attempted to tell Plaintiff` that “you misinterpreted my voice _
message”. Clearly the claim file had become a career damaging millstone.
_PLL;A_IM
Daniel W. Crandall, (hereinafter referred to as “Plaintiff”) is an Idaho resident whose

residence is located at 18 Crossbow, Garden Valley (Boise County) Idaho 83622.

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Plaintiff brings this action as the legal assignee of the claims fi'om CatRisk.us, LLC, an
Idaho Limited Liability Company, and it’s previously wholly owned subsidiary, Moore Support
Services, Inc., an Idaho corporation
DEFENDANTS
l. Hartford Casualty Insurance Company (hereinafcer referred to as “HC”) is a foreign
insurer licensed under Idaho law for property and casualty insurances and is domiciled in
Connecticut.
a. HC is an operating subsidiary owned by The Hartford Group, a multi-billion
dollar insurance enterprise, which is located at One Hartford Plaza., Hartford, CT
061 15 .
`b. The Hartford Group is one of the largest insurance companies based in the United
States, with offices in the United States, Japan, the United Kingdom, Canada,
Brazil and Ireland.
2. The Hartford Steam Boiler Inspection and Insurance Company (hereinafcer referred to as
“HSB”) is one of the world’s leading specialty insurers and reinsurers.
a. HSB is a foreign insurer licensed under Idaho law for property and casualty
insurances and is domiciled in the state of Connecticut and with its principal
offices at One State Street, Hartford CT 06103.
b. HSB is a global provider of equipment breakdown insurance products; other
specialty insurance and reinsurance products; and inspection services and

engineering consulting.

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The Federal _Court has jurisdiction over this case based on the "diversity of citizenship" of the
litigants, who are citizens of different states, and this cases involves demand for damages in

excess of $75,000 in potential damages; therefore 28 U.S.C. § 1332 applies.

. That Plaintiff is a resident of Garden Valley (Boise County) Idaho. '

. Both Defendants are domiciled in the State of Connecticut, but are licensed by the State
. That the incident and acts complained of herein occurred in the City of Boise, County of

. That CatRisk.us, LLC purchased a “Special Multi-Flex Spectrum Policy” (hereinafcer

. That Moore Support Services, Inc., a wholly named subsidiary of CatRisk.us, LLC was

. That the Policy covered CatRisk.us, LLC extensive Equipment Breakdown Property for,

. That CatRisk.us, LLC paid the premiums as required under the Policy and otherwise

 

 

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c. HSB Group, Inc., the parent company of HSB is owned by Munich Re Group of
Munich, Germany, is a multi-billion dollar insurance enterprise and the world’s

largest reinsurer.

JURISDICTION

FACTUAL ALLEGATIONS

of Idaho and other jurisdictions to sell and service property insurance contracts.

Ada, and State of Idaho.'

referred to as “the Policy”) which was issued by Defendant HC effective on May l, 2008.

(See attached Exhibit “A”)
an additional named insured under the Policy,

among other causes of loss, direct and ensuing loss and damage arising from an

Equipment Breakdown Accident.

complied with policy terms in good faith.

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That the Policy was in full force on May 21, 2009.
That on May 21, 2009, at approximately l:00 a.m., CatRisk.us, LLC suffered a sudden

and catastrophic Equipment Breakdown Accident to its Equipment Breakdown Property.

That CatRisk.us, LLC suffered direct and ensuing damage to its Equipment Breakdown
Property (e.g. its integrated computer system), which resulted from an Equipment
Breakdown Accident (e.g. a sudden and catastrophic mechanical breakdown of its

computer systems).

That CatRisk.us, LLC immediately reported the Equipment Breakdown Accident to

Defendant HC’s claims hot-line in accordance with the Policy’s terms and instructions

That CatRisk.us, LLC restored its Equipment Breakdown Property functionality by hiring
available computer service firms to- work 24/7 to identify the problem and restore

functionality.
That despite CatRisk.us, LLC taking all reasonable expediting actions, the restoration

could not be completed until May 29, 2009.

That on June 3, 2009, CatRisk.us, LLC sent a letter setting forth its covered claims for

losses and damages to Defendant HC.
That on July 21, 2009, CatRisk.us, LLC received a letter from the Defendant HC dated
July 20, 2009 stating that they were “writing a coverage position letter” and “regretted
the delay. . .”
That on July 22, 2009, CatRisk.us, LLC received a claim denial letter dated July 15, 2009
from the Defendant HC stating in relative part: your claim will be closed without

payment (see Exhibit “B”)

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BREACH OF CONTRACT

17. Plaintiff adopts and incorporates by reference herein paragraphs 1 through 16 of their
Complaint as set forth in full.

18. Defendants expressed and/or implied representation that it would in good faith, and
thoroughly,' investigate, adjust and promptly pay any valid claims CatRisk.us, LLC may
make on the Policy, without having to sue, which was material to the formation of the `
contract _of insurance with Defendants.

19. Plaintiff is informed and believes and thereon alleges the Defendants in acting or in
failing to act, as alleged herein, Defendants owed a duty to indemnify CatRisk.us, LLC
for, among other claims, an Equipment 'Breakdown Accident to Equipment Breakdown _
Property as defined under Defendants’ contract of insurance

20. Plaintiff is informed and believes and thereon alleges Defendants breached that duty by
failing to:

a. Adopt and implement reasonable standards for the prompt, thorough, and
objective investigation of specialized and complex technology claims arising
under the Policy based upon all available information and employ commercially
available investigative technologies; and give as much consideration to the
financial interests of CatRisk.us, LLC as it did to its own financial interests.

b. Investigate CatRisk.us, LLC’s claim with objectivity or conducting a reasonable
investigation by:

_ i. Fully inquiring into possible bases that might support the CatRisk.us,

LLC’s claim by giving due consideration to CatRisk.us, LLC’s coverage

position; and

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ii. Failure to disclose facts or theories supporting coverage, among which
include several exceptions to exclusions that would grant coverage for
Equipment Breakdown Accident to Equipment Breakdown Properly.

c. Not attempting in good faith to effectuate prompt, fair and equitable settlements
of claims in which liability has become reasonably clear and failing to:

i. Aflirm or deny coverage of claims within a reasonable time;

ii. Promptly provide a reasonable explanation of the basis in the insurance
policy in relation to the facts or applicable law for denial of a claim or for
the offer of a compromise settlement; and

iii. To pay valid CatRisk.us, LLC’s claims in adherence to the Policy terms

and conditions.

 

21. Defendants are in breach of said contract of insurance and, as a result, plaintiffs have
incurred monetary damages as aforesaid and Defendants are therefore liable for all such
damages suffered by CatRisk.us, LLC.

BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEAL]NG

22. Plaintiffs adopt and incorporate by reference herein paragraphs l through 62 of their

Complaint as set forth in fiill.

23. That Idaho law implies a covenant of good faith and fair dealing in all contracts between
parties entered into in the State of Idaho.

24. Plaintiff is informed and believes and thereon alleges that the evidence and testimony
will show that the Defendants engaged in a pattern of conduct of an egregious nature that

created an untenable ill-will that worked to oppress and relentlessly fatigue CatRisk.us,

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LLC’s will and financial ability to prosecute its claims or exercise its rights under the
Policy and Defendants therefore knew or should have known:

a. That there was no reasonable basis for denying the claim and Defendants acted

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b. That they were obligated to pay the claim under the terms of the Policy as

25. Plaintiff is informed and believes and thereon alleges Defendants breached the implied

covenant of good faith and fair dealing by:

a. F ailing to disclose its disorganized claims administration policy and delegation to

 

 

with reckless disregard for whether such a basis existed (e.g. the Defendants could
have filed for adjudication of the causation and coverage controversies for safe
harbor affirmation of their proffered basis for denying the claim; instead they
acted with reckless disregard for whether such a basis really existed and betting

that Plaintiff could not afford to prosecute a costly legal action and just give up).

supported by evidence known to them.

its reinsurer; improperly delegating the investigation to its reinsurer and then
mismanaging their claim and Equipment Breakdown investigation which caused
an excessive delay that is repugnant to proper claims handling standards thus
forcing CatRisk.us, LLC to be whip-sawed between the Defendants’ respective
claims personnel, leading to confusion on what to do, what coverage, and
unnecessary delay; including a failure to recognize the scopeof the damages or
the urgency in the need for Defendants’ quick and decisive actions to meet their
Policy obligations to CatRisk.us, LLC and do their part not to exacerbate

CatRisk.us, LLC’s damages.

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b. Not securing a timely coverage determination in conformance with industry

. Reckless disregard for satisfying its legal burden to prove that there were valid

. Admitting Plaintiff’s coverage analysis was correct on a recorded phone message

 

 

expectations for a claim of this nature; including a continuous and oppressive
disregard for CatRisk.us, LLC’s valid “ordinary meaning” coverage
interpretations, which clearly extinguished all Defendants fairly debatable
coverage issues, which Defendants, motivated by ill-will, ego and self-interest in

their file statistics, continuously ignored or maliciously mocked.

coverage exclusion(s) applicable to the claim, which defeats coverage - prior to
frivolously refusing to pay proceeds of a policy and thereby denying CatRisk.us,
LLC’s claims, (e.g. if coverage exists but for the application of an exclusion, the
Defendants bear the burden of proving the applicability of such an exclusion);

particularly egregious conduct in this regard was:

i. Defendants’ refusal to share its forensic consultant’s (LWG) report of
causation analysis, upon which Defendants rely to deny indemnity, Which
is akin to their policyholder expecting to get a claim covered without

providing any proof other than “take my word for it”.

ii. Defendants’ attempt to conceal the existence of applicable exceptions to
wear and tear, and inherent defect exclusions from CatRisk.us, LLC’s in

its denial letter.

and then a few days later refusing to indemnify by issuing an improper and legally
unsupportable denial with the knowledge that the language of the Policy pursuant

to interpretation of a reasonable person was in favor of indemnity, exhaustively

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proven by CatRisk.us, LLC - months before denial _ therefore the same cannot be

an honest mistake by claims personnel

e. A continuously arrogant and willful conduct that imparted a dishonest purpose

clearly visible and understood by the common and reasonable person.

That Defendants either therefore intentionally or, in the alternative, acted with reckless
disregard as set forth in detail herein, and as a direct and proximate result, plaintiffs have
suffered monetary damages and will suffer monetary damages in the future in an amount
not presently determinable but to be proven at the time of trial.

NEGLIGENT MISREPRESENTATION

The Defendants performed the claims and loss mitigation management in a negligent
manner that failed to meet the standards that they and their agents warranted and the
Defendants advertise and Defendants did foresee or reasonably should have foreseen that
such negligent misrepresentations would cause delay and other damages by depriving its
policyholders iiom the benefit of the bargain for such critical services that a reasonable
person would have been led to believe by Defendants’ advertised standards would be
done in an exceptional manner, which is what one expects when purchasing insurance

contracts for complex technology risks and 'as such Defendants’ are liable to Plaintiff for

the resulting damages.

That on or about June 12, 2009, CatRisk.us, LLC received a form letter notice f`rom
Defendant HSB that informed CatRisk.us, LLC that it’s “investigation was continuing”
and assigned a new HSB identification number to the Defendant HC’s claim; essentially

hijacking the adjustment process.

_ a. That upon representation Hom Defendant HC informed CatRisk.us, LLC that
Defendant HSB reinsures Defendant HC for 100% of all physical loss or damage

arising from Equipment Breakdown Accident to Equipment Breakdown Property.

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b. That Defendant HC delegated the investigation of the CatRisk.us, LLC claim to

HSB.

c. That this automatic transfer of Defendant HC’s duties was not set forth in the

Policy nor disclosed to CatRisk.us, LLC prior to this time.

d. That given Defendant HSB’s “special professional relationship” with HC’s
policyholder, CatRisk.us, LLC in as much as HSB conducted the claims
investigation and is the ultimate risk-bearer (with HC acting only as the “f`ronting
insurer” for the claims involving Equipment Breakdown Accident to Equipment v
Breakdown Property, among others), therefore Plaintiff names them as a co-

Defendant even without privity to the reinsurance agreement.

Both Defendants failed to have or deploy any reasonable cooperative management plan
for catastrophic claims. No reasonable plan to determine which company’s claimd
adjuster would handle the Equipment Breakdown Accident claim was in place. Therefore
the claim was bounced around between a multitude of Defendants’ claims personnel
wasting valuable time and exacerbating the damages e.g. apparently no adjuster wanted

to work the holiday weekend.

That as a direct result of Defendants aforementioned failure, the necessary rapid response
times to properly handle Equipment Breakdown Accident claims of the calamitous nature
suffered by CatRisk.us, LLC was unreasonably delayed (e.g. to help mitigate damages
and expedite critical decisions, which affords their policyholders their expertise and keep

them in compliance with the unilateral policyholder duties set forth in their insurance

contracts).

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31 . That as a result of the foregoing delay, Defendant HSB failed to even get a local claims
adjuster assigned to the claim so as to enable them to inspect the property and records

proving the loss or damage as set forth in the Policy “Duties in the event of Loss”.

 

PUNITIVE DAMAGES

The above described actions of defendants in breaching the contract were intentional,

willful, abusive, done with gross recklessness, done in bad faith, done without reasonable basis

and /or with gross negligence or recklessness As such, defendants are liable to Plaintiff for

punitive damages.

NEGLIGENT ]NFLICTION OF EMOTIONAL DISTRESS

In the alternative, the actions of the Defendants were done in a negligent manner and

Defendants did foresee or reasonably should have foreseen that such actions would cause great

emotional distress, anxiety, inconvenience, and expenses and as such Defendants’ are liable to

Plaintiff for negligent infliction of emotional distress.

BASED UPON THE FOREGOING, plaintiff prays for the following:

1.

2.

PRAYER FOR RELIEF

The court to assume jurisdiction of this case;
Relief in the form of actual general damages, plus interest, and litigation costs
incurred as a pro se litigant;

Damages for emotional distress, anxiety, inconvenience, and expense from

Defendants; and

Punitive Damages.

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Wherefore, all damages considered, Plaintiff, Daniel W. Crandall, respectfully demand
judgment against Hartford Casualty Insurance Company, and Hartford Steam Boiler Inspection
& Insurance Company, the Defendants, as the court may determine, for compensatory damages
in the amount equaling or exceeding $300,000, for punitive damages in the amount the jury shall
determine as limited by law and Constitutional tests, and any further relief that this honorable

court determines appropriate

R;_,(\ M_) , w EXHIBITS ATTACHED

DANIEL W. CRANDALL, Pro se EXHIBIT A _ applicable property

18 Crossbow Rd, sections of the HC Policy

Garden Valley, Idaho 83622

208-608-5017 EXHIBIT B - Denial Explanation
Letter from HC

Dated this <?__d’day of March, 2010

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